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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION


  GULET MOHAMED,

                         PLAINTIFF,

          v.                                                             Case No. 1:11-CV-00050

  ERIC H. HOLDER,       ET AL.,

                         DEFENDANTS.




                PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO
                        PLAINTIFFS’ MOTION TO COMPEL

         Plaintiff, Gulet Mohamed, by and through the undersigned counsel, hereby respectfully

  submits his Reply to Defendants’ Opposition to Plaintiff’s Motion to Compel.



                                         INTRODUCTION

         Although Defendants seek to dismiss Mohamed’s case entirely based on an unjustified fear

  that state secrets will be disclosed, discovery has already yielded revealing information about the

  No Fly List and has done so without imperiling state secrets. We now know that in 2013, the

  Terrorist Screening Center (TSC) approved 98.96% of all nominations made to the Terrorist

  Screening Database (TSDB), a subset of the TSDB being the No Fly List. Doc. 91-3, 12. We also

  know that Defendants do not trust what their own records say, claiming that the “additional details

  about the basis for the rejection of a nomination” that Defendants’ agents include in their records

  “cannot be considered to represent the actual basis for the decision.” Doc. 91-3, 15. Defendants



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  position is that all it knows about why any nominations were rejected is the tautology that the

  nomination lacked “sufficient biographic information and sufficient derogatory information. Id.

          The inadequacy of Defendants records is exactly what one would expect to exist behind

  the outward, public manifestations of the No Fly List, which operates as an abusive, accountability-

  free tool utilized by the FBI to impose a toll mostly on American Muslims who do not want to

  become informants.

          Regardless, in addition to providing this revealing information, Defendants have also

  produced responsive documents, though not the critical ones Mohamed seeks. But despite the

  discovery dispute outlined below, the fact that discovery has been underway and that Defendants

  have partially responded undermines their concerns about state secrets being at risk and at the core

  of this case.

          In short, Mohamed’s discovery objectives are modest. He seeks to demonstrate that the

  risk of erroneous placement on the No Fly List is substantial, given the sloppiness of Defendants’

  records and the lack of internal scrutiny directed towards the substantive derogatory information

  upon which placement decisions are made. Mohamed also seeks to establish that the No Fly List

  is the productive of profiling—based on citizenship, national origin, and religion—to further show

  that the No Fly List includes US persons based on protected characteristics rather than criminal

  suspicion. And finally, Mohamed wants to assess the reasons Defendants reject nominations to

  show how cursory Defendants’ nomination acceptance process really is, making it clear that the

  No Fly List is simply not narrowly tailored to its purpose.

          Mohamed is seeking in discovery basic information with a flexible mindset. This Court

  should compel Defendants to fulfill the plain discovery requests Mohamed has made.




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                                            ARGUMENT

  I. The States Secrets Privilege Does Not Cover the Information Mohamed Seeks
         Defendants do not describe in any reasonable detail how their assertion of the state secrets

  privilege relates to particular discovery requests that Mohamed has made. Instead, Defendants

  assert the privilege to the extent that it applies over “categories of information” which include

  “subject identification,” “reasons for investigation and results,” and “sources and methods.”

  Defendants Opposition, 14-15. Because Defendants have not itemized what parts of Mohamed’s

  discovery requests to which they believe their state secrets privilege apply, Mohamed is in the

  position of having to reply at Defendants’ level of generality.

         a. Disclosing Information that Regards Mohamed’s Placement
     First, Mohamed acknowledges that disclosing that someone is on the No Fly List may confirm

  that the government has identified them as an investigatory subject. And while Defendants suggest

  that revealing the “identities of counterterrorism investigations or intelligence activity” could

  “alert those subjects (or their associates) to the Government’s interest in them…[and] put

  confidential informants or federal agents at risk,” these concerns do not apply in the context of the

  No Fly List. Defendants Opposition, 15. This is because the No Fly List, the effects of which are

  revealed to listed persons when they attempt to travel, discloses the government’s investigatory

  interest by design. Individuals on the No Fly List learn that they are so listed, because Defendants

  do not allow them to fly. Indeed, there is no other systematic reason why an American citizen

  could be prevented from flying over US airspace.

     Furthermore, Defendants argument is particularly cynical, because the TSDB—of which the

  No Fly List is a subset—is a “sensitive but unclassified database and does not contain any

  derogatory information.” Piehota Decl. Doc Entry 22-1, 16. Defendants disseminate the TSDB


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  to “22 foreign governments,” airlines, and even ship captains. See Latif v. Holder, 2014 U.S. Dist.

  LEXIS 85450 (D. Or. June 24, 2014). Indeed, even Defendants’ own declarations make clear that

  access to “TSDB data” does not “compromis[e] an investigation or intelligence collection

  methods. See Piehota Decl. Doc. 22-1, 7.

     And persons on the No Fly List, just like Mohamed, are almost always told by FBI agents,

  airline employees, or Embassy officials that they are on the No Fly List. Latif v. Holder at *17

  (Faisal Kashem “was told by an airline employee that he was on the No-Fly List”); Id at *18 (FBI

  agents told Elias Mohamed “that he was on the No-Fly List”); Id. at *19 (an FBI agent told Steven

  Washburn that he “would help remove Washburn’s name from the No-Fly List if he agreed to

  speak to the FBI”); Id. at *21-22 (FBI agents told Ibraheim Mashal that “his name would be

  removed from the No-Fly List and he would receive compensation if he helped the FBI by serving

  as an informant”): Id at *22-23 (FBI agents offered Amir Meshal “the opportunity to serve as a

  government informant in exchange for assistance in removing his name from the No-Fly List”).

  See also Fikre v. FBI, 2014 U.S. Dist. LEXIS 73174 (D. Or. May 29, 2014) (Emirati officials told

  Yonas Fikre that he “could not travel to the United States by air because he is on the No-Fly List”

  and an FBI agent told Fikre that “the FBI could take steps to remove [him] from the No-Fly List

  if he agreed to be an informant”).

     There are innumerable other examples in the public domain and many more non-public

  examples, but the point is this: Defendants confirm status on the No Fly List all the time. Thus, in

  order to sustain their burden that disclosure of a person’s No Fly List status “reasonably could be

  expected to cause significant harm to national security,” this Court should demand that Defendants

  explain what damage to the national security was done by the above disclosures.




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      Additionally, the FBI allows “for the nomination of an individual for whom the FBI does not

  have an open terrorism investigation.” Audit of the Federal Bureau of Investigation’s Management

  of Terrorist Watchlist Nominations (OIG Audit), *ii; DOJ, Office of the Inspector General, March

  2014. [available at http://goo.gl/B6pBm1]. It could very well be the case that Mohamed could fit

  into Defendants’ Orwellian category of No Fly List designees referred to as “non-investigative

  subjects.” Id. And it is difficult to fathom how revealing the watch list status of a person who the

  FBI has chosen not to investigate would pose a risk to national security.

      Because Defendants have not sustained their burden of showing that Mohamed’s status on the

  No Fly List is subject to the state secrets privilege, this Court should compel Defendants to answer

  completely Interrogatory 1 and RFPD 11.1

           b. Disclosure of Watchlisting Guidance
      Defendants also argue against the disclosure of “the Watchlisting Guidance” which,

  presumably, is responsive to RFPD 1, 3, and possibly 10. Defendants’ Opposition, 16. While

  Mohamed acknowledges that there may be parts of the Watchlisting Guidance that could be

  withheld, he emphasizes that Defendants have previously made their Watchlisting Guidance

  available in response to an advocacy group’s June 2011 Freedom of Information Act request. See

  EPIC’s FOIA Request for No Fly List and Selectee List Inclusion Criteria and Responsive

  Documents, June 2011 [request available at http://goo.gl/Yff9GN and responsive documents

  available at http://goo.gl/aiENcD]. If Defendants can make their 2010 Watchlist Guidance, with

  some redactions, available via a FOIA request, this Court should demand from Defendants an


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    For the same reasons articulated in the section, Defendants reliance on the law enforcement privilege is misplaced.
  In one key way, Defendants utilize the law enforcement privilege in a manner much more far reaching than they do
  the state secrets privilege. Defendants seek to shield, not only the “policies and procedures for implementing and
  maintaining the watchlists,” but also the mechanism “by which redress is provided.” Defendants’ Opposition, 30.
  This Court should not credit Defendants argument that scrutiny over their abusive No Fly List “would weaken the
  Government’s ability to proactively and effectively identify persons who should be watchlisted.” Id. at 31.

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  explanation as to why national security would now be imperiled if something similar were to

  happen in response to Mohamed’s discovery requests.

      Additionally, because Defendants place persons who are not subject to investigations on the

  No Fly List, Mohamed should at least receive the standards that Defendants utilize to list such

  persons. See OIG Audit at 66 [available at goo.gl/Yff9GN] (explaining that as of March 2, 2012,

  “the FBI reported that the included 955 non-investigative subjects that it had nominated” but

  redacting the “three criteria…to be included on the watchlist as a non-investigative subject”).

  Defendants cannot credibly assert that disclosing standards that regard the inclusion of individuals

  who the FBI has chosen not to investigate would pose a risk to national security.

      Furthermore, Defendants have yet to provide any information on what additional showing is

  required for persons nominated to the No Fly List. While Defendants have articulated the general

  standard for inclusion in the TSDB, they have not provided any information about the specific

  distinguishing criteria they apply to No Fly List nominations. Defendants offer no explanation as

  to why revealing such a standard would pose a reasonable risk to national security. Thus, this

  Court should compel them to respond fully to RFPD 1 and 3 to provide the documents that identify

  this.

          c. Summaries as a Substitute for Any Information this Court Deems to be a State Secret
      Because Mohamed was not provided Defendants’ privilege logs, his arguments about having

  access to that information are necessarily general. With this in mind, however, Mohamed requests

  that this Court—to the extent that it believes the documents are actually state secrets—utilize

  procedures similar to the Classified Information Procedures Act to provide Mohamed with

  information relevant to his claims that also avoids the disclosure of state secrets. And while

  Defendants seek dismissal of Mohamed’s claims based on their assertion of the state secrets


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  privilege, this Court can do what many other courts have done: structure a process whereby

  Mohamed’s counsel can view sensitive information that is derived from state secrets without

  revealing them. In Horn v. Huddle, the court “weighed the risk to national security” concluded

  that “the risk of instituting [CIPA-like] procedures is minimal.” Horn v. Huddle, 636 F. Supp. 2d

  10, 19 (D.D.C. 2009). This Court can similarly institute a process whereby Mohamed’s counsel

  can meaningfully engage in the material that Defendants have now begun to submit to this Court

  in camera and ex parte.



  II. Defendants Must Provide the TSDB-Related Information that They Have

           a. Aggregate Demographic Characteristics about Persons in the TSDB are Relevant and
              Any Concerns about Burdensome Searches Can be Mitigated
        Defendants argue that the information Mohamed seeks about the citizenship and naturalization

  status, and religious affiliation “burdensome and unlikely to yield probative information.”

  Defendants Opposition, 26. But Defendants are mistaken on both counts.

        First, Mohamed’s discovery requests have probative value and are based on this Court’s

  guidance in its Memorandum Opinion.         In order to examine what this Court referred to as the

  “possibility, if not probability, that determinations” about which individuals get onto the No Fly

  List are based on “constitutionally protected” activities, beliefs and associations, Mohamed sought

  to determine the place of birth, naturalization status, and perceived religion of US persons on the

  No Fly List. Mem. Opinion 19. These discovery requests include Interrogatories 4, 6, 7, 8, 9, and

  10.

        All public No Fly List incidences over the last several years that Plaintiff’s counsel is aware

  of have regarded Muslim or Arab persons. Additionally, media reports almost always present

  travel to Muslim-majority countries as an event that closely precedes a person’s placement on the


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  No Fly List. Mohamed wants to explore the probability that the US persons in the TSDB are

  ethnically similar, religiously alike, and share foreign origins in Muslim countries. If Mohamed

  can show that the TSDB is filled with US persons who fit a minority profile, it could show that

  Defendants’ No Fly List is not narrowly tailored and thus a violation of Mohamed’s substantive

  due process rights. Additionally, any indications that Defendants rely on national origin, ethnic,

  or religious profiling will also be the size of the risk of erroneous deprivation, which is relevant to

  Mohamed’s procedural due process claim.

     Similarly, Defendants’ argument that these requests are burdensome because they do not track

  the national origin, citizenship status, and religion of listed persons. Although Defendants’

  Opposition now includes affidavits that give substance to their burdensome objections, they were

  not submitted to Mohamed when Defendants made their objections to his discovery requests. Had

  they been, Mohamed would have narrowed his request to seek only the national origin, citizenship

  status, and perceived-religion of US persons on the No Fly List, which likely number in the low

  triple digits. If this did not resolve a reasonable burdensome objection, Mohamed would have

  been open to a statistically sound sampling of the No Fly List records from which valid inferences

  could be drawn. In short, Defendants acknowledge that they have some information that regards

  national origin, citizenship status, and religious identity. However incomplete Defendants believe

  this information to be, the question for this Court is whether it is reasonably calculated to lead to

  the discovery of relevant information. It is, and this Court should compel Defendants to compile

  the information sought.




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         b. The Aggregate Reasons Defendants Reject TSDB Nominations Will Likely Show
            that Their Reviews of TSDB Records are Limited to Assessing Whether There is
            Sufficient Identity Information
     Defendants make the bizarre argument that they cannot provide Mohamed an aggregate

  assessment of why TSDB nominations are rejected, though they acknowledge that the TSDB forms

  include a “free-form/text rject comment field” that “request some form of (unclassified) content”

  in the field to be entered for “all rejected nominations. Grigg Decl, Doc. 102-2, 28. Defendants

  claim that what it refers to as the “text reject comment field” does not actually “require that the

  reason for the rejection be specified.” Id. Defendants say that this “comment-but-not-reason

  requirement” has “always been standard procedure.” Id.

     Discovery exists so that parties to litigation do not have to rely upon such implausible

  explanations. Mohamed wants to analyze these fields to determine whether Defendants ever reject

  nominations due to a “lack of minimum substantive derogatory criteria.” Id. If they do not, then

  Mohamed will be able to demonstrate that the process by which Defendants place persons on the

  No Fly List is not rigorous and the “risk of erroneous deprivation” is substantial. And this

  information about why Defendants reject nominations exists, to a meaningful extent, in the forms

  Defendants have ready access to. This Court should compel Defendants to compile an assessment

  of the various reasons its personnel provide in that field.



  III. Mohamed’s Counsel has been Cleared to View Sensitive Security Information
     Defendants claim that the reason they have withheld Sensitive Security Information, even

  though they know “Plaintiff’s current counsel [has] passed background checks…pursuant to 49

  C.F.R. § 1520.15(e),” is because no “protective order has been entered by the Court.” This

  argument strains credulity as Mohamed’s counsel has been very clear, as far back as March 21,

  2014, that he would be happy to enter into a protective order to resolve issues regarding SSI. To

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  date, Defendants’ counsel has not provided to Mohamed’s counsel a draft of the protective order

  that they would seek to have this Court enter.




                                          CONCLUSION
         For the above reasons, this Court should grant Plaintiff’s Motion to Compel Defendants

  to answer and produce responsive documents.

                                                   Respectfully Submitted,

                                                   _/s/_______________________

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on the 11th day of July 2014 I caused the above to be sent

  electronically to all counsel of record.

                                                               __/s/______________________

                                                               Gadeir Abbas

                                                               (VA Bar #81161)




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